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     JOSE AGUILAR SANTOYO
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            No. 1:13-cr-00340 LJO
12                             Plaintiff,                 STIPULATED MOTION AND ORDER TO
                                                          REDUCE SENTENCE PURSUANT TO 18
13             v.                                         U.S.C. § 3582(c)(2)
14   JOSE AGUILAR SANTOYO,                                RETROACTIVE DRUGS-MINUS-TWO
                                                          REDUCTION CASE
15                             Defendant.
                                                          Judge: Honorable LAWRENCE J. O’NEILL
16
17             Defendant, JOSE AGUILAR SANTOYO, by and through his attorney, Assistant Federal
18   Defender Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through
19   its counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On June 23, 2014, this Court sentenced Mr. Santoyo to a term of 70 months

25   imprisonment;

26             3.         His total offense level was 25, his criminal history category was III, and the

27   resulting guideline range was 70 to 87 months;

28

     Stipulation and Order Re: Sentence Reduction           1
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1              4.         The sentencing range applicable to Mr. Santoyo was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Santoyo’s total offense level has been reduced from 25 to 23, and his
5    amended guideline range is 57 to 71 months. He is subject to the statutory mandatory minimum
6    of 60 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Santoyo’s term of imprisonment to a total term of 60 months.
9    Respectfully submitted,
10   Dated: December 1, 2015                            Dated: December 1, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13   /s/ Kathleen A. Servatius                          /s/ Hannah R. Labaree
     KATHLEEN A. SERVATIUS                              HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           JOSE AGUILAR SANTOYO
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     Stipulation and Order Re: Sentence Reduction          2
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1                                                    ORDER
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Santoyo is entitled to the benefit
5    Amendment 782, which reduces the total offense level from 25 to 23, resulting in an amended
6    guideline range of 57 to 71 months. He is subject to the statutory mandatory minimum of 60
7    months.
8              IT IS HEREBY ORDERED that the term of imprisonment imposed in June 2014 is
9    reduced to a term of 60 months.
10             IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
11   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
12   reduction in sentence, and shall serve certified copies of the amended judgment on the United
13   States Bureau of Prisons and the United States Probation Office.
14             Unless otherwise ordered, Mr. Santoyo shall report to the United States Probation Office
15   within seventy-two hours after his release.
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     IT IS SO ORDERED.
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18        Dated:         December 3, 2015                       /s/ Lawrence J. O’Neill
                                                             UNITED STATES DISTRICT JUDGE
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     Stipulation and Order Re: Sentence Reduction        3
